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Chapter Five presents recommendations for how to optimize existing
programs and presents new programs to consider. The recommendations
are organized according to six major areas:

1. Pre-Trial Services;

2. Adjudication;

3. Jail Alternative Facility: A Community Corrections Center;
4, Alternative to Jail Programs;

5. Victim Services; and

6. Information Systems.

I. Pre-Trial Services

>» Establish a Full-Service Pre-Trial Program

Pre-Trial Services acts as a gatekeeper for the criminal justice system. Pre-
Trial Programs provide vital information to judicial officers to inform the
release decision; and monitor, track, and supervise individuals who are
released pending adjudication. A comprehensive Pre-Trial Services
Program is an indispensable component of a criminal justice system
whose benefits are realized in community safety, system integrity, and
reduced system costs. A Pre-Trial program lays the groundwork for
comprehensive system change.

74% of Misdemeanors and 62% of Felony defendants in Sonoma County were
released from jail prior to trial. (Chapter One)

The pre-trial release rate for felons in Sonoma County is identical to the

national rate (62%). Not only is Sonoma County’s pre-trial release rate in
line with the national average, but it’s release rate is higher than the nine
California counties tracked in the national Felony Defendant Case
Processing data base.* The release rate for felony pre-trial defendants in
those counties, ranged from a low of 36% in San Mateo County, to a high
of 58% in Santa Clara County.

The pre-trial failure-to-appear (FTA) rate for felony defendants in Sonoma
County is 21%. (Chapter One)

BIS, ‘Felony Defendants in Large Urban Counties, 2002," Feb. 2006.

? The counties tracked: Alameda, Contra Costa, LA, Orange, Riverside, San Bernardino, San Diego, San
Mateo, and Santa Clara,

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Sonoma County’s FTA rate for defendants released from jail pending case
disposition is identical to the national rate. This rate reflects the
percentage of pre-trial defendants who fail to make a scheduled court
appearance. Although it is known that the majority of these ‘no-shows’
are apprehended, they represent a cost to the system.

Sonoma County's FTA rate is mid-range, compared to the nine California
counties tracked in the federal study, with a range of FTA rates from 15%
to 40%.

Af 31%, the pre-trial re-arrest rate for felons in Sonoma County is significantly
higher than the national average of 18%. (Chapter One)

Sonoma County relies heavily on surety releases, with a rate significantly
higher than the national average. Nationally, 41% of all felony pre-trial
releases were released on commercial surety bond. *

The vast majority (69%) of pre-trial releases in Sonoma Coutty are released on
commercial surety (bail bondsman). (Chapter One)

The high rate of surety releases may reflect the lack of front-end risk
information for judges, the limits of existing pre-trial supervision
resources, as well as the traditional local reliance on this form of release.

Only 5 percent of pre-trial defendants with Misdemeanor charges, and 16 percent
with Felony charges, are released front jail on to formal pre-trial supervision.
(Chapter Que)

Most defendants are released from jail on either a sheriff citation release,
or to a bail bondsman (surety release).

Pre-Trial Release Type

Misdemeanor Feloi
Citation 47% 0
Own Recognizance 4 13%
Cash 2 0
Surety 41 69
County Pre-Trial 5 16

We recommend that Sonoma County establish a full-service Pre-Trial
Services Program.

1 BIS, 2002.

* BJS, ‘Felony Defendants in Large Urban Counties,2002,’ Feb. 2006.
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Although the county has funded pre-trial supervision officers, it lacks the
universal front-end screening and universal verification that is the
hallmark of a Pre-Trial program. It also does not provide the following:

Universal front-end screening and verification

Objective risk assessment

Indigent screening for public defender assignment
Universal victim contact in cases of violence

Diversion screening

Routine review of jail pre-trial population/bail review
Comprehensive monitoring (court date notification)
Comprehensive tracking (failure-to-appear returns to court)
24/7 operations

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Sonoma County has a program that depends upon one probation officer
who, on a judicial request basis, provides intake information to the courts.
Although her services are appreciated, she is but one person in a system
that processes 20,000 annual jail bookings.

Sonoma County Pre-Trial Supervision services, which had 150 defendants
under supervision in May 2007 employs a high intensity supervision
model. Under this model officers make field visits, require defendants to
attend AA meetings or treatment — for which the defendant can be
required to pay (if no treatment is ordered staff may require the defendant
to attend English as a Second Language (ESL) course), and at times visit a
defendant’s place of employment to conduct urinalysis tests. This is a
probation model of pre-trial supervision; and it also reflects the lack of
objective risk information: an objective basis for providing varying levels
of supervision intensity as required by US v. Scott (424 F.3d 888: Fed. R.
App. P. 35).

The existing program struggles with system issues:

- Cases are sometimes received with no court conditions set

- Defendants appear in court and sometimes even are ordered
released and report to Pre-Trial Services prior to staff having
criminal history and other defendant information (staff gathers
this information afterwards)

- Lack of timely information: Can be a 3-4 day delay in getting
court paperwork; 2-week delay in court information being
entered into computer

- Officers do not have information regarding medications or
mental health case management status

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- Can receive cases after lengthy period in custody (one recent
case was released to Pre-Trial Services after 9 months in
custody)

- No automated case management system for pre-trial tracking

Despite these challenges, the 6 Pre-Trial supervision officers are dedicated
to their work.

The proposed program will staff the jail 24/7 and screen all individuals
booked, contact any necessary victims, document financial status for
purposes of appointment of counsel, verify the information, and prepare
risk assessments to inform judicial release decision-making.

Although, as it stands, the program is currently administered by the
Probation Department, we recommend assessing the relative benefits of
different administrative models as a precursor to program expansion.
Whichever model is chosen, both intake and supervision services need to
be consolidated under a single administrative structure.

The program will also fine-tune the monitoring and tracking functions,
working with the court to develop protocols for providing court date
notification and appearance tracking, monitoring compliance with release
conditions and returning failure-to-appear cases to court. Finally, the
program will assume a jail management function: continuously reviewing
the jail population to identify individuals for on going bail review.

The benefits of implementing a full-service program are many, and
include the following:

Supports Jail Population Management

Pre-Trial programs offer a systematic, front-end mechanism for managing
jail populations. This replaces the ‘back-end’ approach seen in many
jurisdictions that depend on ‘forced’/citation releases of inmates to
manage the population when it nears or exceeds capacity. This is not the
way to manage a jail. Pre-Trial programs help forestall jail overcrowding
through a risk-based approach that reduces the need to resort to
emergency releases, applying the same court approved validated release
criteria regardless of the jail population.

On any given day, approximately 32% of Sonoma County fail inmates are in pre-
trial status. (Chapter One)

Without structured, front-end approaches to jail management, small shifts
in system policies or practices can undo any short-term gains. The way to
sustain progress for the long run is by establishing a comprehensive Pre-
Trial program.

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ETA rates for Citation releases in Sonoma County are 43% for both misdemeanor
aud felons. This failure rate is more than two times the FTA rate for
misdemeanants on supervised release in Sonoma County; the FTA rate for
defendants with felony charges on Citation release is more than 3 times that of
felons on local supervised release. (Chapter One)

National data indicate that defendants released from jail on a forced
(citation) release are more than two times as likely to have a bench
warrant issued because of a failure to appear in court, than those released
with pre-trial conditions and supervision.” This holds true in Sonoma
County. The goal of a full-service Pre-Trial Program is to prevent these

pes of release, replaced by a system that allows early release decisions
and follow-up monitoring, tracking and supervision.

Reduce Re-arrests for New Crimes

In Sonoma County, 31% of these felony defendants released prior to trial were re-

arrested for a new crime, almost 2 times higher than the national average.
(Chapter One)

National data indicate that re-arrest rates for defendants released from jail
to pretrial supervision are significantly lower than those released on either
deposit bonds or through a forced release: The national re-arrest rate for
supervised defendants is almost half that of forced releases.°

Both felony and misdemeanant defendants released to pre-trial supervision in
Sonoma County had lower rates of re-arrest than those released on bail.

Although the re-arrest rate for those on supervised release was lower than
those released on bail, it is still high, and speaks to the need to improve
program quality: better matching of risk and supervision level, ensuring
quick and consistent sanctions, etc.

A review of prior arrest lustories for those on pre-trial release in Sonoma County
revealed little distinction between number of prior arrests and type of release. In
fact, citation releases (released with no supervision or conditions) had the highest
nuniber of prior arrests.

Prior Number of Arrests by Pre-trial Release Type

Type of release Number of Prior Arrests

* “Pretrial Release of Felony Defendants, 1992,” Bureau of Justice Statistics, U.S. Dept.
of Justice, Nov. 1994

°“Preirial Release of Felony Defendants, 1992,” BJS, U.S. Dept. of Justice, Nov. 1994,
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Citation Release 5.8
Own Recoenizance 4.8
Surety 4.4
Supervised Release 4,1

The lack of a relationship between criminal history (as measured by
arrests) and type of supervision reflects the lack of comprehensive risk
screening at first appearance.

A full-service Pre-Trial Services program supervises defendants based on
a validated risk assessment.

Of those on felony pre-trial status in Sonoma County fail, 13% exit jail on ‘own
recognizance; 16% on supervised release; and 69% exit on cash or surety.
(Chapter One)

The pre-trial risk assessment structures the frequency of contact and helps
inform the setting of conditions. Not only is this assessment vital for
public safety considerations, but national data indicate that Pre-Trial
programs that rely exclusively on subjective determinations of risk, are
more than twice as likely to have a jail that exceeds its capacity than those
that rely exclusively on an objective risk assessment. ’

Sonoma County does not use a validated pre-trial risk instrument.
Minimizes Failures-to-Appear
Failures-to-appear are costly to the system.

Data front the case processing study reveal that and 21 percent of felons released
from the Sonoma County Jail pending case resolution failed-to-appear in court at
some point in the adjudication process.

Pre-Trial Programs contribute to reductions in FTA’s through systematic
case monitoring: providing court date notification, and working to return
FTA cases to court without the issuance of a bench warrant. Sonoma
County does not have the latter system in place.

The cost to the system can be measured in a number of ways: in expended
staff time, in the issuance and enforcement of warrants, and in jail days to
respond to violations.

7 Clark, John and D. Alan Henry, “Pretrial Services Programming at the Start of the 21*
Century: A Survey of Pretrial Services Programs,” BJA, July 2003.

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Pre-Trial programs offer a way to manage that risk, as evidenced by pre-
irial failure rates in Sonoma County by type of release.

In Sonoma County, felons released to pre-trial supervision had the lowest rate of
failures to appear of any release type. (Chapter One)

ETA Rate by Type of Pre-Trial Release

(Felony)
Citation Release 43%
Own Recognizance 33%
Surety 28%
Cash 16%
Pre-trial Supervision 12%

These statistics speak to the value of the monitoring and tracking
functions that a pre-trial program provides.

Expedites Case Processing

Expediting case processing is predicated on the early collection of
comprehensive defendant information. Jurisdictions with front-end
screening protocols are in a position to make early and informed decisions
about cases that result in increased diversion and expedited disposition.
Examples of success include one jurisdiction, which achieved a 40%
disposition of felony cases within 72 hours, with early screening and
expedited case processing protocols. It all begins with a comprehensive
Pre-Trial Services program.

Based on a ‘snapshot’ of inmates in the Sonoma County fail, pre-trial defendants
had been in custody an average 94 days. (Chapter Two)

In addition to expediting case processing, national data makes clear
another benefit: Jurisdictions with Pre-Trial Programs which interview
defendants prior to the initial court appearance are less likely to have a jail
that exceeds its capacity’.

Sonoma County does not have a system in place for comprehensive
judicial review of cases at the First Appearance. The first step toward this
is to establish the frontend collection of complete and verified
information.

Ensures Early Assignment of Defense Counsel

* Clark, John and D. Alan Henry, “Pretrial Services Programming at the Start of the 21"
Century: A Survey of Pretrial Services Programs,” BJA, July 2003.

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Shidy data from Sonoma County reveal that 49% of misdemeanor defendants and
63% of felony defendants were appointed a public defender to represent them.
(Chapter One)

Pre-Trial Programs assist in collecting fnancial information needed to
determine indigent status. This up-front documentation of a defendant's
assets and liabilities allows early assignment of a public defender, thereby
accelerating case processing.

Provides Early Identification of Diversion Candidates

Pre-Trial Programs serve another important role in the immediate
identification of possible candidates for drug court, mental health court,
and other diversion options. This serves to broaden the pool considered
for these important programs, and to shorten the time to program entry.
Importantly, time to program entry has been shown to be a predictor of
positive program outcome.

The Sonoma County Drug Court is at less than full capacity. (Sonoma Treatment
data).

At the end of June, 2007 the County Drug Court had 70 clients. The
capacity is 100. Without a universal, front-end screening process, the
identification of potential diversion clients is made more challenging.
This is true in Sonoma County, where referrals come from different
courtrooms, from district attorneys and public defenders, and from the
clients themselves. A Pre-Trial intake unit consolidates what is, in many
jurisdictions, a fragmented approach to identifying diversion clients.

Inmate assessments for alcohol and drugs are often conducted per inmate request
in Sonoma County fail, not through a untversal front-end screening.

The pre-trial screening also provides an opportunity to flag underlying
issues that merit further assessment, such as mental health issues or
repeated entry into the jail. Pre-Trial screening can serve as the referral
point for individuals in need of clinical mental health assessments and
referral services.

Sonoma County does not have this kind of universal, systematic front-end
screening in place at this time.

Solicits Victim Input
A comprehensive Pre-Trial Program also ensures that victim input is

universally solicited and presented to the judge making the release
decision. Victims are contacted by phone and interviewed in all person-

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to-person domestic abuse and battery cases. Ideally, a trained victim
advocate who works alongside pre-trial staff performs this task.

Sonoma County does attempt to contact victims for the purpose of release
decision-making, but not as part of a comprehensive screen.

Provides Specialized Pre-Trial Supervision (Domestic Violence)

There are certain pre-trial populations that merit specialized attention.
Domestic violence defendants are one such group.

A higher percentage of domestic violence defendants were released pre-trial (69%)
than the overall pre-trial release rate (62%). (Sonoma case processing data)

Domestic violence defendants pose special challenges. The majority of
these defendants, even if they were arrested on a felony charge, have
misdemeanor charges filed. Therefore, it might be no surprise that they
have a higher pre-trial release rate. On the other hand, the volatile nature
of the offense, and the systems’ imperfect ability to predict future
violence, argues for a more specialized and intensive tracking of this
population.

The vast majority (69 percent) of those domestic violence defendants released pre-
trial were released to a commercial surety (bail bondsmen). (Sonoma case
processing data)

The majority of domestic violence defendants in jail on pre-trial status
were released to a commercial surety (69%). This type of release provides
nothing more than the appearance of public safety protection. Release to a
bail bondsman without conditions, or comprehensive monitoring and
tracking, does nothing to address the risk posed by these individuals. Just
because the offender has the means to post a surety bond does not make
them less likely to re-offend.

Compared to the general pre-trial population released from the Sonoma
Jail, a higher percentage of DV cases were ordered to formal pre-trial
supervision (24%), compared to the overall average (16%). That more DV
cases, ON average, are supervised by Pre-Trial is a move in the right
direction. The addition of a more formal risk screening, an expanded use
of pre-trial, and specialized supervision services will provide further
improvements.

Support Family Justice Center
Any discussion of domestic violence must address the need for family and

victim services. We support the District Attorney’s Office interest in
developing a Family Justice Center as a means to address the issue. This

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proven model, pioneered in San Diego, would help balance the scales by
offering needed services to help interrupt and resolve violence.

The Family Justice Center will also allow all of the agencies involved with
domestic violence including law enforcement to better able coordinate
services and more effectively adjudicate cases.

Provides Specialized Pre-Trial Services (Mentally Il)

It ts estimated that on any given day approximately 20% of jail inmates have a
mental illness; roughly 89 might be considered seriously mentally ill. (Sonoma
mental health staff)

When it comes to addressing mental health issues in the criminal justice
system, the goal is to identify the mentally ill defendant at the point of
booking. This is accomplished in two ways: use of a specialized mental
health screen; and, access to mental health information regarding current
and active case status.

The GAINS Center, in conjunction with SAMSHA, has _ recently
introduced an 8-question mental health screen, which has been validated
and is being recommended for use in jails. This instrument or other
similar screening tools, provide the first filter for identifying persons who
require further assessment. The goal, as with the general pre-trial
population, is to assess mental health issues within hours of being booked
and to generate a report for the court's review.

The access to mental health status supports continuity of services:
allowing the jail to alert case managers that their client is incarcerated;
providing important information for continued medication and care; and
informing release planning and sentencing.

We know that jail inmates with severe mental illness are more likely to
spend longer periods incarcerated. Often this is because the person can’t
post bail, or their condition is seen as too unstable to allow release. The
availability of specialized pre-trial supervision can address this. Once on
pre-trial supervision the defendant is supported by a staff person with
specialized mental health expertise, who works to monitor the defendant's
compliance with court conditions while linking them to community
services.

Improves Utilization of Limited Jail Space
A full-service Pre-Trial program has staff ready 24/7 to interview

defendants booked into the jail. This is important for jail population
management because it has been shown that there is a direct correlation

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between the amount of coverage offered by a program and jail crowding:
Pre-Trial programs that provide the most extensive coverage (number of
hours of operation) are the least likely to serve a jurisdiction with a jail
that exceeds its rated capacity. ”

In the Sonoma County Jail, 45% of misdemeanants are released from jail within
one day of booking; for felons only 22% are released within one day. (Chapter
One)

A full-service Pre-Trial program supports jail population management by
expediting release; reducing failures through supervision, monitoring,
and tracking; and by providing on-going bail review for those inmates not
immediately released.

Routine bail review involves pre-trial staff continuously reviewing jail
records, interviewing defendants who might have been overlooked
during the first round of interviews, and updating and verifying
information on defendants who have not been able to make bond. For
those defendants who appear to be good candidates for release, a report is
submitted to the court and the public defender is notified.

Sonoma County does not have a system in place to routinely review the
jail population to identify individuals for bail review.

Improves Information Sharing

The information collected by pre-trial staff can contribute to efficiencies in
other areas of the system. For example, information can be used to help
shape early dispositions, to set conditions for diversion programs, or
inform pre-sentence investigations.

Note: Although an assessment of different Pre-Trial administrative
models is recommended as part of the planning process for a new,
comprehensive program, a draft budget based on current County
Probation cost figures is provided in Appendix A asa reference.

? Clark, John and D. Alan Henry, “Pretrial Services Programming at the Start of the 21"
Century: A Survey of Pretrial Services Programs,” BJA, July 2003

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I. Adjudication

» Establish an Early Case Resolution Program

The average time front booking to sentencing (for all cases: in-custody and out) is
67 days for misdemeanants and 142 days for felons. (Chapter One)

Sonoma County also has a slightly higher percentage of cases booked into
jail on a violent charge (27% vs. the national 25%). " There is, however,
room to shorten the processing ime.

If is sending the wrong message to defendants (as well as victiins and witnesses of
crime) not to not expeditiously adjudicate cases.

Sonoma County has already taken some steps to keep its processing times
down. These data suggest that the county would benefit from other
system toals, most notably a formalized Early Case Resolution (ECR)
program.

For those not released from jail, the time from booking to sentencing is 15 days
for misdemeanants and 101 days for felons. (Chapter One)

The establishment of a Pre-Trial program supports an ECR program. This
is because Pre-Trial assumes responsibility for collecting verified
defendant information, upon which negotiated decisions can be made;
and Pre-Trial assists with quick assignment of public defenders, by
helping screen defendants at the time of booking for eligibility.
Information is the key.

The time from arraigninent to the attorney filing of charges is 55 days for felons
(38 days if the persom is in-custody, 72 days if out-of-custody). (Chapter One)

A recommended centerpiece of an ECR program is the assignment of a
single judge (in a jurisdiction of this size) to conduct First Appearance
hearings, including bail and release decisions. Added to this is the
development of case processing expectations and standards. This process
structures decision-making and makes the swift resolution of low-level
offenses the norm. The key is an early and meaningful offer from the
district attorney that is communicated to the public defender/ private
defense attorney within a matter of days, not weeks.

For those misdemeanant defendants who had a failure-to-appear, the average
number of days from jail release to FTA was 52 days (Chapter One).

'” Compared to the nine California counties tracked in the BJS study on Felony Case Processing, Sonoma
has a high percentage of arrests/bookings with violent charges.

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An ECR program can save the system time and money. The lack of such a
program can be seen in failure-to-appear rates. These failures occur on
average more than 1.5 months after release from jail for misdemeanants,
and 2.5 months after release for felons: a cost to the system that would be
avoided by more timely case resolution.

For those felony defendants who had a failure-to-appear, the average number of
days from jail release to FTA was 80 days. (Chapter One)

Sonoma County would benefit from an ECR program that would
streamline adjudication, reduce continuances, standardize the process of
using motions, and establish new time expectations for lower level cases.

The time from booking to disposition for those defendants with no FTA is roughly
half that of those with an FTA. (Chapter One)

Sonoma County
Time from Booking to Sentence

(By FTA)
Misdemeanor Felorny
No FTA 51 days 131 days
Yes FTA 165 230

Jail demand is a product of the number of defendants who come in the
front door of the jail, and how long they stay in jail. An ECR program,
working hand in hand with a comprehensive Pre-Trial program is a vital
tool for reducing jail demand by reducing the average length of stay.

The Sonoma County Superior Court utilizes an individual calendaring
system. Cases are assigned at random to assigned criminal judges (7
criminal judges and 2 commissioners), either in the misdemeanor division
(2 judges and 2 commissioners) or in the felony division (5 judges). In this
arrangement, each of the criminal courts presides over the case from first
appearance / arraignment until disposition.

The proposed early case resolution program changes this model. In this
model a one judge, or perhaps one misdemeanor judge and one felony
judge, handles all the front-end aspects of the case. The single judge sets
bail, makes a release determination for those qualified for release to Pre-
Trial Services, sets bail, appoints counsel, and hears bond/ release
motions. The process relies upon the information provided by Pre-Trial
Services that is gathered and verified prior to the defendant's initial
appearance in court as well as any subsequent information obtained. The

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